                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

JAMES R. ATTAWAY, JULIE M. ATTAWAY, and )
SECOND AMENDMENT FOUNDATION, INC.,            )
                                              )
                          Plaintiffs,         )
                                              )
v.                                            )              Case No.
                                              )
STEVE CORSI, in his official capacity as      )
Director of the Missouri Department of Social )
Services,                                     )
                                              )
                          Defendant.          )

           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

      Plaintiffs, JAMES R. ATTAWAY, JULIE M. ATTAWAY, and SECOND

AMENDMENT FOUNDATION, INC. (“SAF”), by and through undersigned counsel,

as and for their Complaint against Defendant STEVE CORSI, in his official

capacity as Director of the Missouri Department of Social Services (hereinafter

“MDSS”), allege as follows:

                                   INTRODUCTION

      1.       This is an action pursuant to 42 U.S.C. § 1983 for deprivation of civil

rights under color of law, which seeks equitable, declaratory, and injunctive relief

challenging the State of Missouri’s prohibition on otherwise qualified Missouri

residents who are or wish to be foster parents.

      2.       The Second Amendment “guarantee[s] the individual right to possess

and carry weapons in case of confrontation,” District of Columbia v. Heller, 554 U.S.




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570, 128 S.Ct. 2783, 2797 (2008), and is “fully applicable against the States,”

McDonald v. City of Chicago, 561 U.S. 3025, 130 S. Ct. 3020, 3026 (2010).

      3.       Further, Article I, Section 23 of the Missouri Constitution guarantees

the inalienable and unquestionable right to keep and bear arms in defense of one’s

home, person, family and property.

      4.       However, the policy of the MDSS substantially prohibits foster

parents, and those who would be foster parents, from the possession of firearms for

the purpose of self-defense, which violates Plaintiffs’ constitutional rights under the

Second Amendment and the Missouri Constitution.

      5.       Plaintiffs seek to establish that the recognition and incorporation of

the Second Amendment via the Fourteenth Amendment’s due process clause,

renders the State’s restrictions on the possession and carrying of firearms by foster

parents, and would-be foster parents, unconstitutional. As the Plaintiffs only seek

to be treated the same as other law-abiding Missouri residents, the Second

Amendment renders a ban such as that challenged in this action, impermissible.

                             JURISDICTION AND VENUE

      6.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§

1331, 1343, 2201, 2202 and 42 U.S.C. § 1983, in that this action seeks to redress the

deprivation, under color of the laws, statute, ordinances, regulations, customs, and

usages of the Defendant as he executes, administers and enforces the complained-of

laws, of the rights, privileges or immunities secured by the United States

Constitution and by Acts of Congress. This Court has supplemental jurisdiction

over the Plaintiffs’ state law claims pursuant to 28 U.S.C. § 1367(a).


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      7.       This Court has personal jurisdiction over the Defendant because, inter

alia, he acted under the color of laws, policies, customs, and/or practices of the State

of Missouri and/or within the geographic confines of the State of Missouri.

      8.       Venue is proper pursuant to 28 U.S.C. § 1391 because the Defendant

executes, administers, and enforces the complained-of laws against Plaintiffs in this

District, and because the events and omissions giving rise to this action are

harming Plaintiffs in this District.

                                       PLAINTIFFS

      9.       Plaintiff James R. Attaway is 34 years old, and resides with his family

in Kansas City, Missouri. He is married to co-Plaintiff Julie. James is a missionary

for a prayer and worship ministry in Kansas City, Missouri, and has been for more

than ten years. He also owns a business involving sound technology instruction to

churches. James and his wife are licensed foster care providers in Missouri, and are

currently foster parents to one child, providing a stable environment to children

without one, and plan to continue to do so in the future. They also have two natural

children in their home.

      10.      Plaintiff Julie M. Attaway resides with her family in Kansas City,

Missouri. She is married to co-Plaintiff James. Julie and her husband are licensed

foster care providers in Missouri, and are currently foster parents to one child,

providing a stable environment to children without one, and plan to continue to do

so in the future. They also have two natural children in their home.

      11.      The Attaways are allowed to possess firearms in Missouri generally,

and James possesses a concealed carry permit as well, but are prohibited by the


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MDSS policy complained-of herein from possessing loaded functional firearms in

their homes so long as they currently are foster parents, or plan to be foster parents

in the future.

      12.      The Attaways would possess loaded and functional firearms for self-

defense and defense of family, but refrain from doing so because they fear their

foster children being taken away from them by the State, and/or being prohibited

from being foster parents in the future, all due to the MDSS policy complained-of

herein.

      13.      SAF is a non-profit membership organization incorporated under the

laws of Washington with its principal place of business in Bellevue, Washington.

SAF’s membership includes foster parents residing in Missouri. SAF has over

650,000 members and supporters nationwide. The purposes of SAF include

education, research, publishing and legal action focusing on the Constitutional right

privately to own and possess firearms. SAF brings this action on behalf of itself and

its members.

      14.      Members of SAF who are foster parents in Missouri would possess and

carry loaded and functional concealed handguns in public for self-defense, but

refrain from doing so because they fear their foster children being taken away from

them by the State, and/or being prohibited from being foster parents in the future,

all due to the MDSS policy complained-of herein.

      15.      James and Julie Attaway are members of SAF.

                                    DEFENDANT




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        16.   Defendant Corsi is the Director of the Missouri Department of Social

Services. In Corsi’s official capacity, he is responsible for enforcing certain of

Missouri’s laws, customs, practices, and policies, specifically those challenged

herein. In that capacity, Corsi is presently enforcing the laws, customs, practices

and policies complained of in this action. Specifically, per RSMo 207.020 and

210.506, Corsi is the authority charged with processing and administering the

foster parenting system in Missouri. He is sued in his official capacity.

                          CONSTITUTIONAL PROVISIONS

        17.   The Second Amendment provides:

              A well regulated Militia, being necessary to the security of a free
              State, the right of the people to keep and bear Arms, shall not be
              infringed.

U.S. Const. amend. II.

        18.   The Second Amendment “is fully applicable against the States.”

McDonald v. City of Chicago, 561 U.S. 742, 130 S. Ct. 3020, 3026 (2010).

        19.   Article I, Section 23 of the Missouri Constitution provides, in relevant

part:

              That the right of every citizen to keep and bear arms,
              ammunition, and accessories typical to the normal function of
              such arms, in defense of his home, person, family and property,
              or when lawfully summoned in aid of the civil power, shall not
              be questioned. The rights guaranteed by this section shall be
              unalienable. Any restriction on these rights shall be subject to
              strict scrutiny and the state of Missouri shall be obligated to
              uphold these rights and shall under no circumstances decline to
              protect against their infringement.




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                                    STATE LAW

      20.    Since as early as January 30, 2007, as amended effective 2016, the

MDSS has had in effect Code of State Regulations (“CSR”) § 35-60.040, which states

in relevant part:

             (4) Weapons Requirements.

             (A) Any and all firearms and ammunition shall be stored so as to
             be inaccessible to children. Foster parents shall store
             ammunition separately from any weapons. Firearms and
             ammunition shall be stored in locked areas or cabinets with keys
             secured so as to be inaccessible to children.

             (B) No firearms shall be kept in any vehicle transporting (unless
             weapons are inaccessible to the foster child—i.e., in a locked
             glove box or other locked container or in the trunk of the vehicle)
             or on any person providing care or supervision to foster children.
             (An exception will be made for any person transporting a foster
             child who must carry a weapon as part of their job
             responsibilities i.e., law enforcement officers.) No firearms
             possessed in violation of a state or federal law or a local
             government ordinance shall be present at any time in the home,
             on any household member, or in any vehicle in which the
             children are riding.

             (C) Weapons storage shall be made available for external
             viewing by Children’s Division staff in order to assure weapons
             are inaccessible to children.

      21.    The Attaways were required to agree to abide by the restrictions of

CSR § 35-60.040 to become, and continue as, a foster home.

      22.    The Attaways are fearful of losing their foster son if they complain or

do not comply with the policies listed in the paragraphs above.




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      COUNT I – VIOLATION OF RIGHT TO KEEP AND BEAR FIREARMS
           (U.S. CONST. AMENDS. II AND XIV; 42 U.S.C. § 1983)

       23.    Paragraphs 1 through 22 are realleged and incorporated herein by

reference.

       24.    The MDSS regulations, and all other Missouri statutory language,

which restricts foster parents, and would-be foster parents, the rights and privileges

of possessing and carrying firearms for self-defense and defense of family based

solely on their status as foster parents, on their face and as applied, violate the

Plaintiffs’ individual right to possess and carry firearms for self-defense and defense

of family as secured by the Second Amendment to the United States Constitution.

             COUNT II – VIOLATION OF MISSOURI CONSTITUTION
                              (ARTICLE I, § 23)

       25.    Plaintiffs reallege and incorporate Paragraphs 1 through 24, above, as

if fully restated herein.

       26.    The MDSS regulations, and all other Missouri statutory language,

which restricts foster parents, and would-be foster parents, the rights and privileges

of possessing and carrying firearms for self-defense and defense of family based

solely on their status as foster parents, on their face and as applied, violate the

Plaintiffs’ individual right to possess and carry firearms for self-defense and defense

of family as secured under the Missouri Constitution.

                                 FOR ALL COUNTS

       27.    Paragraphs 1 through 26 are realleged and incorporated herein by

reference.




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      28.    A controversy exists as to whether the MDSS regulations which

restricts foster parents, and would-be foster parents, the rights and privileges of

possessing firearms for self-defense and defense of family based solely on their

status as foster parents, is unconstitutional.

      29.    A declaration from this Court would settle this issue.

      30.    A declaration would also serve a useful purpose in clarifying the legal

issues in dispute.

      31.    The Plaintiffs seek a declaration that the MDSS regulations which

restricts foster parents, and would-be foster parents, the rights and privileges of

possessing firearms for self-defense and defense of family based solely on their

status as foster parents, on their face and as applied, is unconstitutional.

      32.    In the absence of an injunction, the unlawful MDSS regulations

complained-of herein would continue to be enforced and would prevent Attaway,

and SAF’s members who are foster parents, or would-be foster parents residing in

Missouri, from owning or possessing a firearm that any otherwise-qualified

Missouri residents may own and possess for defense of self or family.

      33.    The Plaintiffs would continue to suffer irreparable injury if the Court

does not issue an injunction.

      34.    There is no adequate remedy at law because only a declaration and

injunction, as opposed to monetary damages, would allow Attaway, and SAF’s

members who are foster parents, or would-be foster parents residing in Missouri,

the opportunity to possess a firearm for self-defense.




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      WHEREFORE, Plaintiffs pray that this Honorable Court:

      1.       Issue preliminary and permanent injunctions (a) enjoining Defendant

STEVE CORSI, as Director of the Missouri Department of Social Services, from

continuing and enforcing the MDSS regulations of prohibiting firearms possession

and carrying to foster parents, and those who would be foster parents in Missouri,

including against the Plaintiffs and/or their members; and

      2.       Enter the following:

               (a)   A declaratory judgment that the MDSS regulations of

               prohibiting firearms possession and carrying to foster parents, and

               those who would be foster parents in Missouri, and all other Missouri

               statutory language which restricts firearms rights and privileges based

               on status as a foster parent, are null and void because they (i) infringe

               on the right of the people to keep and bear arms in violation of the

               Second Amendment to the United States Constitution; (ii) infringe on

               the right of the people to keep and bear arms in violation of Article I,

               Section 23 of the Missouri Constitution.

               (b)   Issue preliminary and permanent injunctions against the

               Defendant and his political subdivisions, including officers, agents, and

               employees thereof, from enforcement of the MDSS regulations

               prohibiting firearms possession to foster parents, and those who would

               be foster parents in Missouri, and all other Missouri statutory




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             language which restricts firearms rights and privileges based on status

             as a foster parent.

        3.   Award Plaintiffs attorney’s fees and costs pursuant to 42 U.S.C. §

1988.

        4.   Grant such other and further relief, in law and equity, as the Court

deems just and proper.

Dated: January 15, 2019            Respectfully submitted,

                                   By:   /s/ Kevin L. Jamison
                                         Attorney for Plaintiffs

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